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                      IN THE UNITED STATES DISTRICT COURT
                                    FOR THE
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Gybrany Onofre,

Plaintiff,

v.                                                    Case No. 17 cv 6160
                                                      Judge Robert W. Gettleman
Trans Union, LLC et al.,

Defendants.

                                           ORDER

Per stipulation and pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), this action is
dismissed, without prejudice, against Equifax Information Services, LLC with leave to reinstate
on or before January 12, 2018. After January 12, 2018, the dismissal will be entered with
prejudice. Each party shall bear its own costs and attorney fees.




Date: 11/30/2017
                                                    United States District Judge
                                                    Robert W. Gettleman
